                          Case 4:14-cv-00909-A Document 1-1 Filed 11/07/14                                                                                             Page 1 of 1 PageID 5
JS 44-TXND (Rev 12112)                                                                                CIVIL COVER SHEET
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provided by local rules of coun This form, a pprow d by the Jud1cial Conlcrencc of Ihe United S tates m Se pte mber 1974, IS reqUired for the use of Ihe C lerk of Court for the
purpose of inlliati ng the civil docket s heet rsu: IN.~TIIliC7mNs ON N/:,17' I 'A(;J: OF 71/IS FOIIM J

I. (a) PLA I NTI FFS                                                                                                             DEFENDANTS
                                                                                                                               Oakley Trucking, Inc. and Jilleta Baxter, as an Heir to the Estate of
DAWN A. CADDELL and LOUIS DELAROSA                                                                                             John Patrick Baxter, Deceased, or as an Executrix, Administrator, or
                                                                                                                               Personal Representative of the Estate of John Patrick Baxter, Deceas
    (b) County of Residence of First L1sted Plamtiff                           WISE                                             County o f Reside nce o f F1rst Lis ted Defendant Arkansas
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  (c) A tiOrncys (Fmn Nam,•, Atldrru . ami Telephn111• Numher)                                                                     Attomeys (If Known)
Wendy T. Barker, Law Offices of Steven Williams                                                                                Mark J. Dyer, Martin Disiere Jefferson & Wisdom, LLP,
802 W. Business Highway 380, Decatur, Texas 76234                                                                              16000 N. Dallas Pkwy., Ste. 800. Dallas, Texas 75248
940-627-6060                                                                                                                   2 14-420-5500

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